             Case 2:16-cv-00950-RSL Document 116 Filed 06/02/21 Page 1 of 4




1                                                            The Honorable Robert S. Lasnik

2
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6    Attorney for Coalition to Protect Puget Sound Habitat

7

8                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
9                                       AT SEATTLE

10   THE COALITION TO PROTECT PUGET
     SOUND HABITAT,                                   No.: 2:16-CV-00950-RSL
11
                        Plaintiff,
12
                   v.                                 NOTICE OF DEATH
13                                                    OF PLAINTIFF’S ATTORNEY
     U.S. ARMY CORPS OF ENGINEERS, ET AL.,            THANE W. TIENSON
14
                        Defendants,
15
                   and
16
     TAYLOR SHELLFISH COMPANY, INC.,
17
                        Defendant-Intervenor.
18

19

20   TO:          THE CLERK OF THE COURT

21   AND TO:      ALL PARTIES AND THEIR COUNSEL OF RECORD

22         Pursuant to LCR 83.2(b), please be advised that attorney Thane W. Tienson, one

23   of the attorneys for Plaintiff, passed away suddenly and unexpectedly on January 28,

24   Page 1 – NOTICE OF DEATH OF PLAINTIFF’S
                                                             LAW OFFICE OF KARL G. ANUTA, P.C.
     ATTORNEY THANE W. TIENSON
                                                                       TRIAL ATTORNEY
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     CASE No. 2:16-CV-00950                                            Portland, OR 97204
                                                             Phone: 503.827.0320 – Fax 503.386.2168
             Case 2:16-cv-00950-RSL Document 116 Filed 06/02/21 Page 2 of 4




1    2021. Plaintiff’s co-counsel Karl G. Anuta will continue as lead attorney for Plaintiff.

2           All parties have been served electronically, at the time of filing, via the court’s

3    CM/ECF system.

4           Dated: June 2, 2021.

5

6                                               /s/ Karl G. Anuta                                .
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10                                              Attorney for Coalition to Protect Puget Sound
                                                Habitat
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24   Page 2 – NOTICE OF DEATH OF PLAINTIFF’S
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                Case 2:16-cv-00950-RSL Document 116 Filed 06/02/21 Page 3 of 4




       1                                                                           The Honorable Robert S. Lasnik
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           Attorney for Coalition to Protect Puget Sound Habitat
       6

       7                          UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
       8                                   AT SEATTLE
       9
            THE COALITION TO PROTECT
   10       PUGET SOUND HABITAT,                                   No.: 2:16-CV-00950-RSL

   11
                                     Plaintiff,                    CERTIFICATE OF SERVICE
   12                      v.

   13
            U.S. ARMY CORPS OF ENGINEERS,
   14       et al.,

   15                                Defendants,

   16                      and
   17       TAYLOR SHELLFISH COMPANY,
            INC.,
   18

   19
                                       Intervenor.
   20
                  I hereby certify that on June 2, 2021, I electronically filed the NOTICE OF
   21
           DEATH OF PLAINTIFF’S ATTORNEY THANE W. TIENSON with the Clerk of the
   22
           Court using the CM/ECF system which will send notification of such filing on the
   23
           following:
   24
           Mark Brown                                        Samuel W. Plauche’
   25      Attorney for Defendants                           Attorney for Defendant Intervenor
           mark.brown@usdoj.gov                              billy@plauchecarr.com
   26

Page       1 - CERTIFICATE OF SERVICE
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               Case 2:16-cv-00950-RSL Document 116 Filed 06/02/21 Page 4 of 4




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       5   Laura Glickman
           Attorney for Defendants
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       7

       8         Dated this June 2, 2021.
       9                                                  LAW OFFICE OF KARL G. ANUTA, P.C.
   10
                                                             /s/ Karl G. Anuta________________
   11                                                     KARL G. ANUTA (OSB #86142)
                                                          kga@integra.net
   12

   13                                                     Attorney for Plaintiff

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Page       2 - CERTIFICATE OF SERVICE
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